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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 JOHN AND JANE DOES 1–9,

         Plaintiffs,
                v.                                       Civil Action No. 25-325 (JEB)


 U.S. DEPARTMENT OF JUSTICE,

         Defendant.


                          MEMORANDUM OPINION AND ORDER

       Plaintiffs are current employees of the Federal Bureau of Investigation who participated

in that agency’s investigations into the January 6 rioters and the storage of classified documents

by President Donald Trump at Mar-a-Lago. See ECF No. 1 (Compl.) at 1. They have brought

this putative class action against the Department of Justice to forbid the “the aggregation,

storage, reporting, publication or dissemination of any list or compilation of information that

would identify FBI agents and other personnel[] and tie them directly to Jan. 6 and Mar-a-Lago

case activities.” Id., ¶ 99. They also ask for a temporary restraining order to similar effect,

enjoining DOJ from “aggregating and disseminating information to the President, Vice President,

members of their staff, or any other persons not subject to the Privacy Act, that identifies

Plaintiffs and the work they performed on the Jan. 6 and Mar-a-Lago cases.” ECF No. 3 (TRO)

at 2. Citing fears for their safety, they seek to proceed under pseudonyms. See ECF No. 2

(Mot.). The Court will grant the Motion, subject to any further consideration by the United

States District Judge to whom this case is randomly assigned. See LCvR 40.7(f) (providing that

Chief Judge shall “hear and determine . . . motion[s] to file a pseudonymous complaint”); id.



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5.1(h)(1) (“Absent statutory authority, no case or document may be sealed without an order from

the Court.”).

I.     Legal Standard

       Generally, a complaint must identify the plaintiffs. See Fed. R. Civ. P. 10(a); LCvR

5.1(c)(1). This identification requirement reflects the “presumption in favor of disclosure [of

litigants’ identities], which stems from the ‘general public interest in the openness of

governmental processes,’ and, more specifically, from the tradition of open judicial

proceedings.” In re Sealed Case, 931 F.3d 92, 96 (D.C. Cir. 2019) (quoting Wash. Legal

Found. v. U.S. Sentencing Comm’n, 89 F.3d 897, 899 (D.C. Cir. 1996)). A party moving to

proceed pseudonymously thus “bears the weighty burden of both demonstrating a concrete need

for such secrecy[] and identifying the consequences that would likely befall it if forced to

proceed in its own name.” In re Sealed Case, 971 F.3d 324, 326 (D.C. Cir. 2020). As a result,

the court must “‘balance the litigant’s legitimate interest in anonymity against countervailing

interests in full disclosure’” by applying a “flexible and fact driven” balancing test. Id. (quoting

In re Sealed Case, 931 F.3d at 96). That test assesses “five non-exhaustive factors”:

                (1) whether the justification asserted by the requesting party is
                merely to avoid the annoyance and criticism that may attend any
                litigation or is to preserve privacy in a matter of [a] sensitive and
                highly personal nature;
                (2) whether identification poses a risk of retaliatory physical or
                mental harm to the requesting party or[,] even more critically, to
                innocent non-parties;
                (3) the ages of the persons whose privacy interests are sought to be
                protected;
                (4) whether the action is against a governmental or private party;
                and relatedly,
                (5) the risk of unfairness to the opposing party from allowing an
                action against it to proceed anonymously.

Id. at 326–27 (quoting In re Sealed Case, 931 F.3d at 97) (first alteration in original).




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II.     Analysis

        At this stage, Plaintiffs have succeeded in showing that their privacy and safety concerns

outweigh the public’s presumptive and substantial interest in learning their identities.

        The first and second factors, taken together, support granting the Motion. Plaintiffs do

not seek to proceed under a pseudonym “merely to avoid the annoyance and criticism that may

attend any litigation,” but to “preserve privacy in a matter of [a] sensitive and highly personal

nature” and “avoid retaliatory physical or mental harm.” Id. at 326 (quoting In re Sealed Case,

931 F.3d at 97) (alteration in original). In particular, they argue that disclosure of their identities

to the public risks physical harm to them and their families, as “many individuals, including

those recently pardoned for crimes committed at the Capitol, have begun a campaign to publicize

the names of the FBI agents and other personnel involved in” the January investigations in order

“to harass and threaten” them. See Mot. at 5. Indeed, one January 6 defendant has already been

convicted of “plotting to kill FBI special agents who investigated him over his crimes at the

Capitol.” Ryan Reilly, Jan. 6 Rioter Is Convicted of Plotting to Murder FBI Agents who

Investigated Him, NBC News (Nov. 20, 2024), https://www.nbcnews.com/politics/justice-

department/jan-6-rioter-convicted-plotting-murder-fbi-agents-rcna181005. Such concerns are as

troubling as those that typically justify pseudonymity, see, e.g., J.K.A. v. United States, No. 23-

2273, ECF No 7 (Mem. Op.) at 3–4 (D.D.C. Aug. 10, 2023) (second factor favors pseudonymity

when plaintiffs experienced abuse by, and faced further “threats of retaliation” from, foreign

government); Doe v. U.S. Dep’t of State, 2015 WL 9647660, at *3 (D.D.C. Nov. 3, 2015)

(permitting pseudonymity to protect plaintiff from retaliation by anti-U.S. insurgents), and they

are sufficient here to tip the first two factors in Plaintiffs’ favor. See also Doe v. Austin, 2024

WL 864197, at *3 (D.D.C. Feb. 29, 2024) (first two factors favor pseudonymity where plaintiff




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was “a covert U.S. intelligence officer” and publicity could “draw the attention of

hostile . . . actors”).

        As Plaintiffs concede, however, the third factor — “the ages of the persons whose privacy

interests are sought to be protected,” In re Sealed Case, 971 F.3d at 326 (quoting In re Sealed

Case, 931 F.3d at 97) — weighs against pseudonymity because they are adults. See Mot. at 6.

        The fourth factor is at worst neutral. Plaintiffs are suing a government defendant and

seeking individualized relief: the non-disclosure of their identities to the public. In such cases,

courts have generally favored pseudonymity. See, e.g., Doe v. Blinken, No. 24-1629, ECF No. 3

(Mem. Op.) at 5 (D.D.C. June 11, 2024) (“When a plaintiff requests individualized relief against

a government defendant — as here, where Doe challenges a yearlong delay in adjudicating his

SIV application — the fourth factor favors pseudonymity.”) (citation omitted); see also Am.

Foreign Serv. Ass’n v. State, No. 24-3385, ECF No. 8 (Mem. Op) at 5–6 (D.D.C. Dec. 11, 2024)

(fourth factor favors pseudonymity where plaintiffs sought review of individual benefit denials);

J.W. v. Dist. of Columbia, 318 F.R.D. 196, 201 (D.D.C. 2016) (“[A]nonymous litigation is more

acceptable when the defendant is a governmental body because government defendants do not

share the concerns about reputation that private individuals have when they are publicly charged

with wrongdoing.”) (quotation marks and citation omitted); Doe v. ICE, No. 24-617, ECF No. 9

(Mem. Op.) at 5 (D.D.C. Mar. 8, 2024) (factor supported pseudonymity where “[p]laintiff

allege[d] deficiencies in ICE’s compliance with FOIA solely with respect to his individual

request”).

        That said, Plaintiffs also seek this individualized relief on behalf of an as-yet-uncertified

class of “[a]ll FBI personnel for whom a survey was requested and/or completed by the Trump

administration that identifies their specific role in the Jan. 6 and Mar-a-Lago cases.” Compl.,




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¶ 47. The suit thus potentially implicates the rights of many individuals whose interests may or

may not be adequately represented by Plaintiffs. In light of that wrinkle, the Court considers this

factor a wash. See V.C. v. District of Columbia, No. 23-1139, ECF No. 5 (Mem. Op.) at 4

(D.D.C. Apr. 27, 2023) (factor is neutral where plaintiffs request “class-wide relief”).

       Fifth and finally, the Government would suffer no “risk of unfairness” if the Motion were

granted. In re Sealed Case, 971 F.3d at 327 (quoting In re Sealed Case, 931 F.3d at 97).

Although Plaintiffs have not yet filed a declaration under seal with their identifying information,

they indicate that they “will fully disclose their identities to Defendant,” Mot. at 7, and the Court

will order them to do so. In such circumstances, this factor does not require disclosure. See In re

Sealed Case, 971 F.3d at 326 n.1 (explaining that this factor is “not implicated” where defendant

knows plaintiff’s identity); Doe v. ICE, No. 24-617, Mem. Op. at 5 (fifth factor supports motion

where defendant already knows plaintiff’s identity).

       In sum, the first, second, and fifth factors weigh in favor of granting the Motion. That

lopsided balance resolves the matter in Plaintiffs’ favor, at least on the current record.

       The Court accordingly ORDERS that:

       1. Plaintiffs’ [2] Motion for Leave to File Under Pseudonym is GRANTED, subject to

           any further consideration by the United States District Judge to whom this case is

           randomly assigned;

       2. All parties shall use the pseudonyms listed in the Complaint in all documents filed in

           this action; and

       3. Within 3 days of this Order, Plaintiffs shall file on the public docket and under seal a

           declaration containing their real names and residential addresses.




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                                                 /s/ James E. Boasberg
                                                 JAMES E. BOASBERG
                                                 Chief Judge
Date: February 4, 2025




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